               Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 1 of 17 PageID #:1708



                                                                 RETURN OF SERVICE
                                                                                            DATE
             Sewice ofth€ Summons and complaint was made by me(r)
                                                                                            61612022 at 10:38 AM
NAME OF SERITR TPrur'r'7)                                                                   TITLE
                                          Mike Noble                                        Process Server
      Check one box below to indicate appropriate method of seryice


                Served personally upoa the defendaDt. Place where served:




                Left copies thereofat the defendant's dwelling house or usual place ofabode with             a   person ofsuitable age and
                discretion then residine therein.
                Name ofperson with whom the summons and complaint were left:

                Retumed unexecuted:




            /otler      lspeciryl: Served: Officer M. Gomez Bad e #1 27 62, Authorized Representative
                (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                 SERVICES                                                    TOTAL



                                                               DECLARATION OF SERVER

                      I decla.e under penalty ofperjury under the laws ofthe United States of America that the foregoing information
             contained in the Retum of Service and Statemenl of Service Fees is true and correct.



             Execured   on 61812022
                                                                Signature      ofsener

                                                                     1 706 Northfield Sq. Unit B
                                                                     Northfield, lL 60093

Party Served: Sergeant James Trianafillo

Address of Process {ierver:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may servc a summons see Rule 4 ofthe Fcdcral Rulcs   ofCivil   Proccdure.
                 Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 2 of 17 PageID #:1709



                                                                 RETURN OF SERVICE
                                                                                            DATE
            Service   ofthe Summons and complaint was made by rre(')                        61612022 at 10:38 AM
NAME OF SERVER (PRltr'I)                                                                    TITLE
                                          Mike Noble                                        Process Server
      Check one box below to indicate appropriate method ofservice

            tr   Served personally upon rhe defendant. Place where served:




            D    Left copies thereof at the defendant's dwelling house or usual place of abode with          a   person of suitable age and
                 discretion then residins therein.
                 Name ofperson with whom the summons and complaint were left:

            E    Retumed unexecuted:




            /orrer      lspeciryl: Served: Officer M. Gomez Badge #12762, Authorized Representative
                 (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES
TRA\GL                                                SERVICES                                                     TOTAL



                                                               DECLARATION OF SERVER

                      I declare under penalty of perjury under the laws of the United States of America that the forcgoing information
             contained in the Retum of Service and Statement ofService Fees is true and correct.


             Execured   on 61812022
                                                                Sisnatwe ofSetuel


                                                                     1706 Northfield Sq. Unit B
                                                                     Northfleld, lL 60093

Party Served: Sergeant Michael Rake

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons see Rulo 4 ofthe Fede.al Rules   ofcivil   Procedure.
                 Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 3 of 17 PageID #:1710



                                                                 RETURN OF SERVICE
                                                                                            DATE
            Service ofthe Surnrnons and complaint was made by me(')
                                                                                            61612022 at 10:38 AM
NAME OF SERVER TPrur'r'?                                                                    TITLE
                                          Mike Noble                                        Process Server
      Check one box below to indicate appropriate method oJ senice

            E    Served personally upon the defendant. Place where served:




            tr   Left copies thereof at the defendant's dwelling house or usual place of abode with          a   person of suitable age and
                 discretion then residins therein.
                 Name ofperson with whom the summons and complaint were left:

            E    Retumed unexecuted:




            /otr,e,lspeciryy, Served: Officer M. Gomez Badge #12762, Authorized Representative
                 (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                                     TOTAI,



                                                               DECLARATION OF SERVER

                      I declare under penalty of pedury under the laws of the United States of America that the foregoing infomation
             contained in the Retum of Sewice and Statement ofSeflice Fees is true and correct.



             Execured   on 61812022

                                                                     '1706 Northfield Sq. Unit
                                                                     Northfield, lL 60093

Party Served: Officer Victor Jorado

Address of Process Seryer:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons see Rule 4 ofihe Federal Rules   ofcivil   Procedure.
               Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 4 of 17 PageID #:1711



                                                                 RETURN OF SERYICE
                                                                                            DATE
             Service ofthe Summons and complaint was made by me(')
                                                                                            61612022 at 10:38 AM
NAME oF SERVER          TPIiIN?                                                             TTTLE
                                          Mike Noble                                        Process Server
      Check one box below to indicale dppropriate method ofservice


                 Served personally upon the defendant. Place whgre served:




                 Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and
                 discretion then residing therein.
                Name ofpeason with whom the summons and complaint w€re left:

                 Retumed unexecuted:




            /otler      lspecity;: Served: Officer M. Gomez Ba                                 #127 62, Authorized Representative
                (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                 SERVICES                                               TOTAL



                                                               DECLARATION OF SERVER

                      I declare under penalty ofpedury under the laws ofthe United States of America that the foregoing information
             contained in the Retum ofService and Statement of Service Fees is true and corect.


             Executed   on 61812022
                                                                Signature of Seryer


                                                                     1706 Northfield Sq. Unit B
                                                                     Northfield, lL 60093

 Party Served: Officer Maximo Mora

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons see Rule 4 ofthe Federal Rules   ofcivil   Procedure.
                Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 5 of 17 PageID #:1712



                                                                    RETURN OF SERYICE
                                                                                          DATE
             Service ofthe Summons and complaint was made by me(r)
                                                                                          61612022 at 10:38 AM
NAME OF SERVER          rP&N?                                                             TITLE
                                          Mike Noble                                      Process Server
      Check one box below to indicate appropriate method ofservice


                Seryed personally upon the defendant. Place where served:




                Leit copies thereofat the defendant's dwelling house or usual place ofabode with           a   person of suitable age and
                discretion then residins therein.
                Name ofperson with whom the summons and complaint were left:

            D   Retumed unexecuted:




            /ortrer lspeciryl: Served: Officer M. Gomez Ba                                  #1 27   62, Authorized Representative
                (Hispanic female, 45, brown hair, 5'3", 140)




                                                              STATEMENT OF SERVICE FEES
TRAVEL                                                   SERVICES                                                TOTAL



                                                                 DECLARATION OF SERVER

                      I declare under penalty ofperjury under the laws ofthe United States of America that the foregoing information
             contained in the Retum ofService and Statement ofService Fees is true and codect.


             Executed   on 6/812022
                                                                   Signature of Sener


                                                                    1706 Northfield Sq. Unit B
                                                                    Northfield, lL 60093

Party Served: Officer Salvador Villanueva

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michioan Ave
Chicago, lL 60655


(l)   As to who may serve a summons see Rule 4   oflhe Federal Rules ofcivil procedure.
                 Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 6 of 17 PageID #:1713



                                                                  RETURN OF SERVICE
                                                                                             DATE
             Service ofthe Summons and complaint was made by me(r)
                                                                                             61612022 at 10:38 AM
NAME OF SERVER          TPR'r'?                                                              TITLE
                                          Mike Noble                                         Process Server
      Check one box below to indicate appropriate method ofservice


             D    Served personally upon the defendant. Place where served:




            E     Left copies thercof at the defendant's dwelling house or usualplace of abode with a person of suitable age and
                  discretion then residing rherein.
                  Name ofperson with whom the summons and complaint we.e Ieft:

            fl    Retumed unexecuted:




                 /^                  Served: officer M. Gomez Badge #12762, Authorized Representative
            V     otner lspecifyl:

                  (Hispanic female, 45, brown hair, 5'3", 140)




                                                              STATEMENT OF SERVICE FEES
TRAVEL                                                  SERV]CES                                              TOTAI"



                                                                DECLARATION OF SERVER

                      I declare under penalty ofpedury under the laws of the United States of America that the foregoing   infomation
             contained in the Retum of Service and Statement ofservice Fees is true and codect.



             Executed   on 61812022
                                                                 Signature of Seryer


                                                                      1706 Northfield Sq. Unit B
                                                                      Northfield, lL 60093

Party Served: Officer Robert Pendleton

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As 1o who may selve a summons see Rule 4   ofthe FedeEl Rules   ofcivil   Procedure.
                 Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 7 of 17 PageID #:1714



                                                                RETURN OF SER\,'ICE
                                                                                           DATE
             Service ofthe Summons and complaint was made by rne(')
                                                                                           61612022 at 10:38 AM
NAME oF SERVER          (PX'r'D                                                            TITLE
                                          Mike Noble                                       Process Server
      Check one box below to indi.cote oppropriate method af sewice


             E   Sewed personally upon the defendant. Place where served:




             D   Left copies lhereofa! the defendant's dw€lling house or usual place ofabode with           a person   ofsuitable age and
                 discretion then residine therein.
                 Name ofperson with whom the summons and complaint were left:

            E    Retumed unexecuted:




            /other      lspecifyl: Served: Officer          M.        omez Badge #12762, Authorized Representative
                 (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                                  TOTAL



                                                              DECLARATION OF SERVER

                      I declare under penalty of perjury under the laws of the United States of America that the foregoidg information
             contained in the Refurn ofService and Statement ofService Fees is true and correct.



             Execured   on 61812022
                                                               Sisnaturc of Seruer


                                                                    1706 Northfield Sq. Unit B
                                                                    Northfield, lL 60093

Party Served: Officer Leonard Shoshi

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons sec Rule 4 ofrhe Fedeml Rules   ofcivil   Procedure.
               Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 8 of 17 PageID #:1715



                                                                   RETURN OF SER\TCE
                                                                                          DATE
             Serr'ice ofthe Summons and complaint was made by me(r)
                                                                                          61612022 at 10:38 AM
NAME OF SERVER TPR'r'D                                                                    TITLE
                                         Mike Noble                                       Process Server
      Check one box below to indicale appropriate method ofservice


                Sefled personally upoll the defendant. Place where served:




                Left copies thereof at the defendant's dwelling house or usual place of abode with         a person   of suitable age and
                discretion then residine therein.

                Name ofperson with whom the summons and complaint were lefl:

                Retumed unexecuted:




            /ottrer     lspecity;: Served: Officer M. Gomez Badge #1 27 62, Authorized                                         esentative
                (Hispanic female, 45, brown hair, 5'3", 140)




                                                              STATEMENT OF SERVICE FEES
TRAVEL                                                  SERVICES                                               TOTAL



                                                                 DECLARATION OF SERVER

                      I declare under penalty of perjury under the laws of the Uniled States ofAmerica that the foregoing infomation
             contained in the Return of SeNice and Statement of Service Fees is true and correct.



             Executed   on 61812022
                                         Date                     Signalure oj Sener


                                                                    1706 Northfield Sq. Unit
                                                                    Northfield, lL 60093

Party Served: Officer Lemonica Rider

Address of Process Server:
Chlcago Police Department Headquarters
3510 South Michioan Ave
Chicago, lL 60655


(l)   As to who may serve a sunmons see Rule 4   oflhc Fcdcral Rules ofcivil Procedure.
                Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 9 of 17 PageID #:1716



                                                                 RETURN OF SERVICE
                                                                                            DATE
            Service   oi the Summons and complainr    wa5 made   by Ine'r'                  61612022 at 10:38 AM
NAME OF SERVER (Pn1N?J                                                                      TITLE
                                         Mike Noble                                         Process Server
      Check one box below to indicate appropriate method ofservice


            E   Served oersonallv uDon the defendant. Place where sefled:




                Left copies thereof at lhe defendant's dwelling house or usual place of abode with            a   person of suitable age and
                discretion then residins therein.
                Name ofperson with whom the summons and complaint were left:

            E   Retumed unexecuted:




            /ottrer lspecity;: Served: Officer M' Gomez                           B            #1 27 62.   Authorized Representative
                (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES



                                                               DECLARATION OF SER\'ER

                      I declare under penalty ofpedury under the laws ofthe United States of Ame.ica that the foregoing information
             contained in the Return of Service and Statement of Sewice Fees is tlue and corlect.




                                                                 Signature ofSewer


                                                                     1706 Northfield Sq. Unit B
                                                                     Northfield, lL 60093
                                                                 addre''s of senq
Party Served: Officer in Exhibit B

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons see Rule 4 ofthe Federal Rules   ofcivil   Procedure.
              Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 10 of 17 PageID #:1717



                                                                 RETURN OF SERVICE
                                                                                            DATB
            Service   ofthe Summons and complaint was made by rne(')
                                                                                            61612022 at 10:38 AM
          OF SERVER    TPruN'
                                          Mike Noble                                        Process Server
      Check one box below to indicate appropi.tte method of senice

            E   Served personally upon the defeIrdant. Place where served:




                Left copies thereof at the defendant's dwelling house or usual place of abode with           a person   of suitable age and
                discretion then residins therein.
                Name ofperson     \rith whom the summons and compiaint were left:

            D   Retumed unexecutedl




              /^                                 Officer M. Gomez Badge #12762, Authorized Representative
            V   oLherrspecifyr: Served:
                (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES



                                                               DECLARATION OF SERVER

                      I declare under penalty ofperjury under the laws ofthe UDited States of America that the foregoing itrformation
             contained in the Refurn of Service and Statement of Service Fees is true and collect.




                                                                Sisnature ofSener


                                                                     1706 Northfield Sq. Unit B
                                                                     Northfield, lL 60093

Party Served: Officer in Exhibit C

Address of Process Server:
Chicago Police Depadment Headquarters
35'10 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons see Rule 4 ofthe Fcderal Rules   ofcivil   Proccdure.
              Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 11 of 17 PageID #:1718



                                                                RETURN OF SERVICE
                                                                                           DATE
            Sewice ofthe Summons and complaint was made by me(r)
                                                                                           61612022 at 10:38 AM
NAME OF SER\€R TPRINO                                                                      TITLE
                                         Mike Noble                                        Process Server
      Check one box below to indicate appropriate method of senice


            D    Served personaliy upon the defe[dant. Place where served:




            tr   Left copies thereofat the defendant's dwellinghouse orusual placeofabodewithapersonofsuitableageand
                 discretion then residins therein.
                 Name ofperson with whom the summons and complaint were left:

            E    Retumed unexecuted:




            /otrre,lspeciryy: Served: Officer M. Gomez Badge #12762, Authorized Representative
                 (Hispanic female, 45, brown hair, 5'3", 140)




                                                           STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                              TOTAL



                                                              DECLARATION OF SERVER

                      I declare under penalty ofperjury under the laws ofthe United States of America that the foregoing information
             contained in the Retum of Service and Statement ofservice Fees is true and colrect.



             Executed   on 61812022
                                                               Signature      ofsener

                                                                    1706 Northfield Sq. Unit
                                                                    Northfield, lL 60093

Party Served: Officer in Exhibit A

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As ro who may scrve a summons see Rule 4 ofthe Fedeml Rules   ofcivil   Procedure.
              Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 12 of 17 PageID #:1719



                                                                  RETURN OF SERVICE
                                                                                            DATE
             Service ofthe Summons and complaint was made by me(')
                                                                                            61612022 at 10:38 AM
NAME oF SERVER TPRI^?                                                                       TITLE
                                          Mike Noble                                        Process Server
      Check one box below to indicate appropriate method ofseryice


                 Served personally upon the defendant. Place where served:




                 Left copies thereof at the defendant's dwelling bouse or usual place of abode with a peNon of suirable age and
                 discretion then residing therein.
                Name ofperson with whom the summons and complaint were left:

                 Refumed unexecuted:




            /oLtrer lspecilyr, Served: Officer M' Gomez Badge                                  # 1 27   62, Authorized
                (Hispanic female, 45, brown hair, 5'3", '140)




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                 SERVJCES                                                   TOTAL



                                                               DECLARATTON OF SERVER


                      I declare under penalty ofperjury under the laws ofthe United States of America that the foregoing information
             contained in the Retum of Service and Statement ofService Fees is true and correct.


             Executed   on 61912022
                                                                Signatwe of Sener


                                                                     1706 Northfield Sq. Unit
                                                                     Northfield, lL 60093

Party Served: Officer Guillermo Gama

Address of Process Seryer:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons see RuLe 4 ofthe Federal Rules   ofcivil   procedure.
              Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 13 of 17 PageID #:1720



                                                                 RETURN OF' SERVICE
                                                                                            DATE
             Service ofthe Summons and complaint was made by rne(r)
                                                                                            61612Q22   at 10:38 AM
NAME OF SERVER TPR]N?                                                                       T]TLE
                                          Mike Noble                                        Process Server
      Check one box below to indicate appropriate method ofservice


            0   Seryed personally upon the defendant. Place whete served:




            C   Left copies thereof at the defendant's dwelling house or usual place of abode with           a   person of suitable age and
                discretion then lesidins therein.

                Name ofperson with whom the summons and complaint v/ere left:

            D   Retumed unexecuted:




            /otte,1speciry1, Served: Officer M. Gomez Badge #12762, Authorized Representative
                (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SER\'ICE FEES
TRAVEL                                                 SERVICES                                                    TOTAL



                                                               DECLARATION OF SERVER

                      I declare under penalty ofpedury under the laws ofthe United States of America that the foregoing infomation
             contained in the Return of Seftice and Statement of Service Fees is true and corect.


             Executed   on 61812022

                                                                     1706 Northfield Sq. Unit
                                                                     Northfield, lL 60093

Party Served: Captain Christopher Bielfeldt

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to wbo may serve a summons see Rule 4 ofthe Federal Rules   ofcivil   Procedure.
             Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 14 of 17 PageID #:1721



                                                               RETURN OF' SERVICE
                                                                                     DATE
            Service   ofthe Summons and complaint was made by me(')                      61612022 at'10:38 AM
NAME OF SERIGR TPR,IN'                                                               TITLE
                                        Mike Noble                                       Process Server
      Check one box below to indicate appropriate method ofservice


                Sened personally upon lhe defendanl. Place where sened:




               Left copies thereof at the defendant's dwelling house or usual place of abode with         a   person of suitable age and
               discretion then residins therein.
               Name ofpersoh with whom the summons and complaint were left:

                Retumed unexecuted:




           /oLb", r.p..ifyt, Served: Officer M' Gomez Badge                                #1 27   62, Autho rized
                (Hispanic female, 45, brown hair, 5'3", 140)




                                                           STATEMENT OF SERVICE FEES
TRAVEL                                               SERVICES                                                    TOTAL



                                                              DECLARATION OF SER\'ER

                     I declare under penalty of perjury under the laws of the United States ofAmedca that the foregoirg ioforDatiotr
            contained in the Retum of Service and Statement of Service Fees is true and codect.



            Executed    on   61812022
                                                               Signature of Sener


                                                                    1706 Northfield Sq. Unit
                                                                    Northfield, lL 60093

Party Served: Officer Gabriel Rodriguez

Address of Process Seryer:
Chicago Police Depariment Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons sec Rule 4 ofthe Fedeml Rules   ofcivil ?focedure,
              Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 15 of 17 PageID #:1722



                                                                 RETURN OF' SERVICE
                                                                                            DATE
            Service   ofthe Summons and complaint was made by me(')
                                                                                            61612022 at 10:38 AM
NAME OF SER\TR TPIUN?                                                                       TITLE
                                          Mike Noble                                        Process Seryer
      Check one box below to indicate appropliate method ofservice


            E   Served personaily upon the defendant. Place v,/here served:




            E   Left copies thereofat the defendant's dwelling house or usual place ofabode with a person ofsuitable age and
                discretion then residine therein.
                Name ofperson with whom the summons and complaint were left:

            E   Retumed unexecuted:




            /otne,lspecify;: Served: Officer M. Gomez Badge #12762, Authorized Representative
                (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                 SERVICES                                              TOTAL



                                                               DECLARATION OF SERVER

                      I declare under penalty ofpedury under the laws ofthe United States of America that the foregoing information
             contained in the Retum of Service and Statement of Service Fees is true and corect.



             Executed   on   61812022
                                                                Signature      ofsener

                                                                     1706 Northfield Sq. Unit B
                                                                     Northfield, lL 60093

Party Served: Officer Aaron McClelland

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michioan Ave
Chicago, lL 60655


(l)   As lo who may serve a summons see Role 4 ofth€ Federal Rules   ofcivil   Proccdurc.
              Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 16 of 17 PageID #:1723



                                                                 RETURN OF SERVICE
                                                                                            DATE
             Service ofthe Summons and complaint was made by me(l)
                                                                                            61612022 at 10:38 AM
NAME OF SERVER          (PR/i/'                                                             TITLE
                                          Mike Noble                                        Process Server
      Check one box below to indicate appropriate method of senice


            E    Served personally upoo the defendant. Place where served:




            tr   Left copies thereof at the defendant's dwelling house or usual place of abode with          a   person of suitable age and
                 discretion then residine therein.
                 Name ofperson with whom the summons and complaint were left:

            E    Retumed unexecuted:




            /otler      lspeciryy: Served:       Officer M. Gomez Badge #12762, Authorized Representative
                 (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                 SERVICES                                                    TOTAL



                                                               DECLARATION OF SERVER

                      I declare under penalty of perjury under the laws ofthe United States of America that the foregoing information
             contained in the Retum ofService and Statement of Service Fees is true and correct.


             Executed   on 61812022
                                                                Signature of Sener


                                                                     1706 Northfield Sq. Unit B
                                                                     Northfield, lL 60093

Party Served: Officer Angelo Gallegos

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons see Rule 4 ofthc Fcdcral Rules   ofCivil   Procedure.
               Case: 1:20-cv-06851 Document #: 114 Filed: 06/09/22 Page 17 of 17 PageID #:1724



                                                                     RETURN OF SERVICE
                                                                                          DATE
             Sewice ofthe Summons and complaint was made by me(r)
                                                                                          61612022 at 10:38 AM
 NAME OF SERVER TPIUN?                                                                    TNLE
                                          Mike Noble                                      Process Server
       Check one box below to indicate appropiate method ofseryice


             0   Served personally upon the defendant. Place where served:




             D   Left copies thereof at the defendant's dwelling house or usual place of abode with        a   peNon of suitable age and
                 discretion then residing therein.
                 Name ofperson with whom the summons and complaint were left:

             O   Retumed unexecuted:




            /otrrer lspeciryl: Served: Officer M. Gomez Badge #12762, Authorized Representative
                 (Hispanic female, 45, brown hair, 5'3", 140)




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                 SERVICES                                                  TOTAL



                                                               DECLARATION OF SER\'ER

                      I declare under penalty ofpedury under the laws ofthe United States of Ame.ica that the foregoiog            infomation
             contained in the Retum of Service and Statement ofSewice Fees is true and corlecl.



             Executed   on   61812022
                                                                Sisnature of Senel
                                                                                          \\s_-
                                                                     1706 Northfield Sq. Unit B
                                                                     Northfield, lL 60093

 Party Served: Officer Andres Valle

Address of Process Server:
Chicago Police Department Headquarters
3510 South Michigan Ave
Chicago, lL 60653


(l)   As to who may serve a summons see Rule 4 ofthe Federal Rules   ofCivit procedure.
